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. UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISTON

UNITED STATES OF ee F

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Vv. oO D CRIMINAL COMPLAINT

JAN 15 2008 CASE NUMBER:

Nicholas J. Alexander . 2 ft 3
MICHAEL W. DOBBINS ‘

CLERK, U.S. DISTRICT COURT

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MAGISTRATE JUDGE tise

I, tne undersigned complainant being duly sworn state the following is true and
correct to the best of my knowledge and belief. On or about August 3, 2007, in DuPage

County, in the Northern District of Tllinois defendant:

(1) by force and violence, and by intimidation, did attempt to take from the person and
presence of a bank employee, United States currency belonging to and in the care,
custody, control, management and possession of Northem Trust Bank located at One
Oakbrook Terrace, Oakbrook Terrace, Illinois, the deposits of which were then insured
by the Federal Deposit Insurance Corporation; and

(2) by force and violence, and by intimidation, did take from the person and presence of a
bank employee, approximately $3,683 in United States currency belonging to and in the
care, custody, control, management and possession of Fifth Third Bank located at 1768
S. Blanchard Street, Wheaton, Illinois, the deposits of which were then insured by the
Federal Deposit Insurance Corporation,

in violation cf Title 18, United States Code, Section 2113 (a).

Il further state that I am a Special Agent with the Federal Bureau cf Investigation and
that this complaint is based on the following facts:

See attached affidavit

Continued on the attached sheet and made a part hereof: _xX Yes

C? Clo

Eric R. Kaley, Special Agent Le
Federal Bureau of Investigation”

 

Sworn to before me and subscribed in my presence,

January 15, 2008 at Chicago, Tllinois
Date City and State,

Michael T. Mason, MAGISTRATE JUDGE yf Pt EB

 

  

Name & Title of Judicial Officer Signature of Judicial Olfifer

 
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STATE OF ILLINOIS )
‘ )SS
COUNTY OF DUPAGE )
AFFIDAVIT

I, Eric R. Kaley, being duly sworn under oath, state as follows:

1. lam, and for the past five years have been, a Special Agent with the Federal Bureau
of Investigation (“FBI’}. 1am assigned to the Chicago FBI's West Resident Agency. My duties
include the investigation of various crimes, including the investigation of bank robberies, fugitive
matters, kidnapings and other violent crimes.

2. The information set forth in this Affidavit is based upon my participation in this
investigation, interviews of witnesses, review of law enforcement reports, my discussions with others
who have personal knowledge of the events and circumstances described herein, and my experience
and training. The recitation of facts contained in this Affidavit is not meant to be a complete
narrative of all that has occurred in connection with this investigation, but is only a summary of facts
necessary to show probable cause that on or about August 3, 2007, NICHOLAS J. ALEXANDER:
(a) by force and violence, and by intimidation, attempted to take United States currency belonging
to and in the care, custody, control, management, and possession of Northern Trust Bank located at
One Oakbrook Terrace, Oakbrook Terrace, Illinois; and (b) by force and violence, and by
intimidation, took approximately $3,683 in United States currency belonging to and in the care,
custody, control, management, and possession of Fifth Third Bank located at 1768 South Blanchard

Street, Wheaton, Illinois, both of which deposits were insured then by the FDIC, all in violation of

Title 18 United States Code, Section 2113 (a).

 
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The Attempted Bank Robbery of Northern Trust Bank, Oakbrook Terrace, lilingis

3. _ At approximately 4:00 p.m. on August 3, 2007, a white male wearing blue jeans, a
orey long sleeve shirt, anda blue Cubs baseball cap, and carrying a red folder, entered the Northern
Trust Bank located at One Oakbrook Terrace, Oakbrook Terrace, Illinois. The deposits of the
Northern Trust Bank are and were on August 3, 2007 federally insured by the Federal Deposit
Insurance Corporation ("FDIC"). The male approached the teller counter where a female teller,
“Teller A.” was working. The male told Teller A, "This is a robbery. No one's going to get hurt.
Just give me all the money.” Teller A attempted to open her teller drawer, but had difficulty opening
it. As Teller A continued to attempt to open her teller drawer, the male stated, "Open your fucking
drawer! Give me all your money and no one will get hurt. Open your fucking drawer."

4. When Teller A still could not open her teller drawer, the male leaned over the teller
counter, grabbing the teller’s side of the counter edge in order to pull himself toward Teller A's teller
drawer. While laying across the counter, the male attempted to open Teller A's teller drawer, bul was
unsuccessful. The male then picked up his folder and exited Northern Trust Bank.

5. The attempted robbery was captured on Northern Trust's video camera surveillance
system.

6. A law enforcement Evidence Technician ("ET") processed Teller A's teller area for
the purpose of collecting physical evidence. As part of the evidence processing, the ET located and
collected latent fingerprint lifts on the underside of the edge of the teller’s side of the counter, where

the male had grabbed the counter in order to pull himself toward Teller A’s teller drawer. The

recovered Jatent fingerprint lifts were subsequently submitted to the FBI Laboratory for ex amination.

 
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The Robbery of Fifth Third Bank, Wheaton, Illinois

7. At approximately 4:55 p.m. on August 3, 2007, less than one hour after the attempted
robbery of Northern Trust Bank, a white male wearing blue jeans, a grey long sleeve shirt, and a blue
Cubs baseball cap, and carrying a red folder, entered the Fifth Third Bank. located at 1768 South
Blanchard Street, Wheaton, Illinois. The deposits of Fifth Third Bank are and were on August 3,
2007 federally insured by the Federal Deposit Insurance Corporation ("FDIC"). The male entered
the Fifth Third Bank and approached the teller counter where a female teller, “Teller B,” was
working behind the counter. The male instructed Teller B, "Give me the money." When Teller B
questioned what the subject was saying, the male replied, "Give me all the money, otherwise, I have
a gun in my pocket and J will shoot you." Teller B then opened her teller drawer and began
removing money from the drawer. While Teller B was placing money on the counter, the male
specified, “Give me the hundreds." When Teller B finished putting the money from her teller drawer
on the counter, the male took the money and exited the bank. The money taken by the robber
amounted to approximately $3,683.00.

8. . The robbery was captured on Fifth Third Bank's video camera surveillance system.

9. Following the robbery of the Fifth Third Bank, law enforcement used a canine trained
to track by scent in an effort to track the fleeing bank robber. The canine tracked the bank robber’s
scent to a church parking lot located north of the bank.

10. Shortly after the canine tracked the bank robber’s scent to a church parking lot, law
enforcement officials interviewed an individual, “Witness 1," who was in the church located north

of the bank. Witness ltold the law enforcement officials that he had observed an early 1990s Acura

Legend passing through the church parking lot, at a time which coincided with the time of the bank

 
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robbery from Fifth Third Bank. At the time, a function was taking place inside the church, and
Witness | was confident that no one entered or exited the church at the time the Acura Legend was
observed passing through the church parking lot. Witness 1 was confident of his identification of
the car’s make, model and approximate year, and recalled the car being a dark color, possibly dark
blue, with dark tinted windows.

Identification of NICHOLAS J. ALEXANDER

11. The tellers and other witnesses at Northern Trust Bank and Fifth Third Bank
described the bank robber as a white male, in his 30s, ranging from 5'7"- 6'0" in height, having a
medium build, dark eyes and dark hair.

12. As part of the bank robbery investigation, law enforcement agents reviewed reports
of recently released bank robbers. In reviewing reports of past bank robberies, law enforcement
discovered that NICHOLAS J. ALEXANDER (“ALEXANDER”) had worn baseball caps during
the robberies, including a Chicago Cubs baseball cap. ALEXANDER also had driven to the area of
the banks, parked a short distance from the banks, and then walked to the banks in order to commit
the robberies. A further review of law enforcement records disclosed that ALEXANDER was living
in Westmont, Illinois, in the same geographical area as the August 3, 2007 attempted robbery and
robbery, and that he fit the physical description provided by witnesses to the attempted robbery of
Norther Trust Bank and the robbery of Fifth Third Bank, in that ALEXANDER is a white male,
38 years of age, 6'0", 200 lbs., with brown eyes and brown hair.

13. Law enforcement officers compared booking and other known photographs of

ALEXANDER to the video surveillance images captured during the August 3, 2007 attempted

robbery and robbery. The photographs of ALEXANDER closely resembled the robber depicted in

 
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the bank surveillance footage from both Northern Trust Bank and Fifth Third Bank.

14. Following the identification of ALEXANDER as a possible suspect, law enforcement
conducted surveillance of ALEXANDER. Surveillance determined that ALEXANDER was
regularly driving a 1991 Acura Legend. ALEXANDER'’s Acura Legend was dark ereen in color and
had tinted windows.

15. On January 7, 2008, the FBI Laboratory reported on its examination of the latent
prints submitted from the teller counter of the attempted robbery of Northern Trust Bank. One of
the submitted latent prints, collected from the underside of the teller counter edge, was positively
identified as that of ALEXANDER.

16. On January | 1, 2008, law enforcement officials showed a photo array containing sx
photographs, including that of ALEXANDER, to Teller A of the Northern Trust Bank. After
viewing the photo array, Teller A identified ALEXANDER as closely resembling, and having the
same characteristics, as the male who had attempted to rob the Northern Trust Bank on August 3,
2007.

17, On January 11, 2008, law enforcement officials showed a photo array containing six
photographs, including that of ALEXANDER, to Teller B of Fifth Third Bank. After viewing the
photo array, Teller B identified ALEXANDER as looking similar to, and most like, the male who
robbed Fifth Third Bank on August 3, 2007. |

Conclusion
18. Based on the foregoing, there is probable cause to believe that on August 3, 2007,

NICHOLAS J, ALEXANDER: (a) by force and violence, and by intimidation, attempted to take

United States currency belonging to and in the care, custody, control, management, and possession

 
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of Northern Trust Bank located at One Oakbrook Terrace, Oakbrook Terrace, Illinois; and (b) by
force and violence, and by intimidation, took approximately $3,683 in United States currency
belonging to and in the care, custody, control, management, and possession of Fifth Third Bank
located at 1768 South Blanchard Street, Wheaton, Illinois, both of which deposits were insured then

by the FDIC, all in violation of Title 18 United States Code, Section 21 13(a).

PURTHER AFFIANT S4YETH NOT.

Eric R. Kaley
Special Agent
Federal Bureau of Investigation

Sworn to before me and subscribed in my presence
ihis 15th day of January, 2008.

7 At On

Michael T. Mason
United States Magistrate Judge

 
